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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                               :
WALTER KRUPKA,                                                 :
                                                               :
                                             Plaintiff,        :       19 Civ. 11577 (LGS)
                                                               :
                           -against-                           :             ORDER
                                                               :
TF CORNERSTONE, INC. ET AL,                                    :
                                                               :
                                             Defendants. :
------------------------------------------------------------- X

LORNA G. SCHOFIELD, District Judge:

        The Court has been informed that the parties have reached a settlement in principle in this

case. Accordingly, it is hereby ORDERED that this action is dismissed without costs and without

prejudice to restoring the action to the Court’s calendar, provided the application to restore the

action is made within thirty (30) days of this Order. Any application to reopen filed after thirty

(30) days from the date of this Order may be denied solely on that basis. Any pending motions

are DISMISSED as moot, and all conferences are CANCELED.

Dated: September 4, 2020
       New York, New York
